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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 1

UNITED STATES DISTRICT COURT

District of Columbia [=]
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
v. )

MICHAEL LOCKWOOD )
) Case Number: 23-CR-146
USM Number: 36288-510
) Samuel C. Moore
) Defendant’s Attomey

THE DEFENDANT:
Mi pleaded guilty to count(s) Two

1] pleaded nolo contendere to count(s)
which was accepted by the court.

OO was found guilty on count(s)
after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
18 U.S.C. 111(a)(1) Assaulting, Resisting, or Impeding Certain Officers 1/6/2021 Two
The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
L] The defendant has been found not guilty on count(s)

wv Count(s) All Remaining CO is | are dismissed on the motion of the United States.

__ Itis ordered that the defendant must notify the United States attorney for this district within 30 devs of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

11/6/2023

Randolph D. Moss, United States District Judge
Name and Title of Judge

u/[Hlr3

Date
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AO 245B (Rev. 09/19) Judgment in Criminal Case
Sheet 2 — Imprisonment

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DEFENDANT: MICHAEL LOCKWOOD

CASE NUMBER: 23-CR-146

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of:

12 months and a day.

Wi The court makes the following recommendations to the Bureau of Prisons:
The defedant be placed at FCI Elkton, in Lisbon, Ohio.

L] The defendant is remanded to the custody of the United States Marshal.

C1 The defendant shall surrender to the United States Marshal for this district:
Cl] at Llham QO pm _ on
C1 as notified by the United States Marshal.

Wj The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
C1 before 2 p.m. on
C1 as notified by the United States Marshal.

[Mf as notified by the Probation or Pretrial Services Office.

RETURN
T have executed this judgment as follows:
Defendant delivered on to
a ___, with a certified copy of this judgment.
UNITED STATES MARSHAL
By

DEPUTY UNITED STATES MARSHAL
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* AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 3 — Supervised Release

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DEFENDANT: MICHAEL LOCKWOOD
CASE NUMBER: 23-CR-146
SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of:
36-months (3 years)

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.
. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.
Mi The above drug testing condition is suspended, based on the court's determination that you
pose a low risk of future substance abuse. (check if applicable)
4, Mf You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution. (check if applicable)
5. M You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
C1 You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as

directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

7. C1 You must participate in an approved program for domestic violence. (check if applicable)

Ne

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 3A — Supervised Release

Judgment—Page 4 of 7
DEFENDANT: MICHAEL LOCKWOOD

CASE NUMBER: 23-CR-146

STANDARD CONDITIONS OF SUPERVISION

As patt of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
court or the probation officer.

4. You must answer truthfully the questions asked by your probation officer.

5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

9. Ifyou are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

11, You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12, Ifthe probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

AUS. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature Date
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 3D — Supervised Release

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DEFENDANT: MICHAEL LOCKWOOD
CASE NUMBER: 23-CR-146

SPECIAL CONDITIONS OF SUPERVISION

Restitution Obligation - You must pay the balance of any restitution owed at a rate of no less than $250 each month.

Financial Information Disclosure - You must provide the probation officer access to any requested financial information and
authorize the release of any financial information. The probation office may share financial information with the United
States Attorney's Office.

Financial Restrictions - You must not incur new credit charges, or open additional lines of credit without the approval of the
probation officer.

Community Service - You must complete 40 hours of community service within 12 months. The probation officer will
supervise the participation in the program by approving the program. You must provide written verification of completed
hours to the probation officer.

You are ordered to make restitution to Architect of the Capitol in the amount of $2,000. The court determined you do not
have the ability to pay interest and therefore waives any interest or penalties that may accrue on the balance.

Restitution payments in the amount of $2,000.00 shall be made to the Clerk of the Court for the United States District
Court, District of Columbia, for disbursement to the following victim:

Victim Name Amount of Loss

Architect of the Capitol

Office of the Chief Financial Officer

Ford House Office Building, Room H2-205B

Washington, D.C. 20515

The financial obligations are immediately payable to the Clerk of the Court for the U.S. District Court, 333 Constitution Ave
NW, Washington, D.C. 20001. Within 30 days of any change of address, you shall notify the Clerk of the Court of the
change until such time as the financial obligation is paid in full.

The Probation Office shall release the presentence investigation report to all appropriate agencies, which includes the
United States Probation Office in the approved district of residence, in order to execute the sentence of the Court.
Treatment agencies shall return the presentence report to the Probation Office upon the defendant's completion or
termination from treatment.

Re-entry Progress Hearing - Within sixty days of release from incarceration or placement on supervision, you will appear
before the Court for a re-entry progress hearing. Prior to the hearing, the probation officer will submit a report summarizing
your status and compliance with release conditions. If you are supervised by a district outside of the Washington DC
metropolitan area, the United States Probation Office in that district will submit a progress report to the court within 60 days
of the commencement of supervision; upon receipt of the progress report, the Court will determine if your appearance is

required.
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties

Judgment — Page 6 of ¢
DEFENDANT: MICHAEL LOCKWOOD

CASE NUMBER: 23-CR-146
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Restitution Fine AVAA Assessment* JVTA Assessment**
TOTALS $ 100.00 $ 2,000.00 $ $ $
L] The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be

entered after such determination.
L] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an apprestmately pro ortioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss*** Restitution Ordered Priority or Percentage
Payable to the United States District and $2,000.00

Bankruptcy Court for the District of
Columbia for disbursement to the following
Architect of the Capitol

Office of the Chief Financial Officer

Ford House Office Building

Room H2-205B

Washington, DC 20515

TOTALS $ 0.00 $ 2,000.00

V1 Restitution amount ordered pursuant to plea agreement $ 2,000.00

[] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

Wj The court determined that the defendant does not have the ability to pay interest and it is ordered that:
M\ the interest requirement is waived forthe [] fine #1 restitution.

C1 the interest requirement forthe [] fine [7 restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22. .

*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996,
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 6 — Schedule of Payments

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DEFENDANT: MICHAEL LOCKWOOD
CASE NUMBER: 23-CR-146

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A MM Lumpsum payment of$ 2100.00 due immediately, balance due

C] not later than , or
WM inaccordancewith |] C, OJ D, CF E,or M1 F below; or

B (O Payment to begin immediately (may be combined with LIC, C1D,or (OF below); or

C (Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D OU Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E (© Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F WM Special instructions regarding the payment of criminal monetary penalties: oo.
é financial obligations are immediately payable to the Clerk of the Court for the U.S. District Court, 333

Constitution Ave NW, Washington, D.C. 20001. Within 30 days of any change of address, you shall notify the Clerk
of the Court of the change until such time as the financial obligation is paid in full. Restitution Obligation - You must
pay the balance of any restitution owed at a rate of no less than $250 each month.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

Cl Joint and Several

Case Number . .
Defendant and Co-Defendant Names Joint and Several Corresponding Payee,
(including defendant number) Total Amount Amount if appropriate

[J The defendant shall pay the cost of prosecution.
L1 The defendant shall pay the following court cost(s):

C1 The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, cluding cost of
prosecution and court costs.
